     Case: 1:15-cv-10240 Document #: 49 Filed: 12/07/16 Page 1 of 1 PageID #:128


                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: Ronald Hinton, Plaintiff                   Case Number: 15 C 10240
v.
Warden Marcus Hardy, et al. Defendants

An appearance is hereby filed by the undersigned as attorney for:
Ronald Hinton

Attorney name (type or print): David J. Flynn

Firm:     Querrey & Harrow, Ltd.

Street address:         175 W. Jackson Blvd., Suite 1600

City/State/Zip:     Chicago, IL 60604

Bar ID Number: 6204228                                 Telephone Number:           312-540-7662
(See item 3 in instructions)

Email Address: dflynn@querrey.com

Are you acting as lead counsel in this case?                                     Yes           No

Are you acting as local counsel in this case?                                    Yes           No

Are you a member of the court’s trial bar?                                       Yes           No

If this case reaches trial, will you act as the trial attorney?                  Yes           No

If this is a criminal case, check your status.                    Retained Counsel
                                                                  Appointed Counsel
                                                                  If appointed counsel, are you a
                                                                      Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on December 7, 2016

Attorney signature:        S/ David J. Flynn
                           (Use electronic signature if the appearance form is filed electronically.)
                                                                                           Revised 8/1/2015
